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                UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION



UNITED STATES OF AMERICA,

v.                                                              4:92cr4013-WS

EMERSON DAVIS,

             Defendant.



                  ORDER DENYING DEFENDANT'S MOTION
                           FOR REHEARING

       Before the court is the defendant's "Motion for Recalculation of Sentencing

and Rehearing." Doc. 2075. In essence, the defendant seeks reconsideration of the

court's order (doc. 2074) denying his motion for reduction in sentence pursuant to

18 U.S.C. § 3582. The government has responded (doc. 2076) in opposition to the

motion, and the defendant has replied (doc. 2077).

       The court finding no basis for rehearing, it is ORDERED:

       The defendant's "Motion for Recalculation of Sentencing and Rehearing"

(doc. 2075) is DENIED.

       DONE AND ORDERED this 17th              day of     December      , 2013.
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                            s/ William Stafford
                            WILLIAM STAFFORD
                            SENIOR UNITED STATES DISTRICT JUDGE
